           Case 6:22-bk-10775-SY Doc 22 Filed 06/29/22                                            Entered 06/29/22 21:27:57                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 22-10775-SY
Rebecca Gift                                                                                                           Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-6                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 27, 2022                                               Form ID: 318a                                                             Total Noticed: 17
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 29, 2022:
Recip ID                   Recipient Name and Address
db                     +   Rebecca Gift, 43537 Elinda Road, Temecula, CA 92592-5114
41110816               +   Centers for Medicare & Medicaid, PO Box 138832, Oklahoma City, OK 73113-8832
41110817               +   Continental Service Group, Inc., PO Box 1528, Fairport, NY 14450-7528
41110826               +   US Department of Treasury, Bureau of the Fiscal Service, PO Box 830794, Birmingham, AL 35283-0794

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: BLSIMONS.COM
                                                                                        Jun 28 2022 04:38:00      Larry D Simons (TR), 3610 Central Avenue, Suite
                                                                                                                  400, Riverside, CA 92506-5907
smg                        EDI: EDD.COM
                                                                                        Jun 28 2022 04:38:00      Employment Development Dept., Bankruptcy
                                                                                                                  Group MIC 92E, P.O. Box 826880, Sacramento,
                                                                                                                  CA 94280-0001
41110813               + Email/Text: bk@avant.com
                                                                                        Jun 28 2022 00:47:00      Avant/WebBank, 222 North Lasalle Street, Suite
                                                                                                                  1600, Chicago, IL 60601-1112
41110814               + EDI: CAPITALONE.COM
                                                                                        Jun 28 2022 04:38:00      Capital One, Attn: Bankruptcy, P.O. Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
41110815               + Email/Text: opsqa_usbankruptcy@cashnetusa.com
                                                                                        Jun 28 2022 00:47:00      Cash Net USA, 175 West Jackson Avenue #100,
                                                                                                                  Chicago, IL 60604-2615
41110818               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Jun 28 2022 00:54:43      Credit One Bank, Attn: Bankruptcy Department,
                                                                                                                  Po Box 98873, Las Vegas, NV 89193-8873
41110819               + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        Jun 28 2022 00:55:12      Cws/cw Nexus, Attn: Card Services, Po Box 9201,
                                                                                                                  Old Bethpage, NY 11804-9001
41110820                   Email/Text: EBNBKNOT@ford.com
                                                                                        Jun 28 2022 00:47:00      Ford Motor Credit Company, P.O. Box 64400,
                                                                                                                  Colorado Springs, CO 80962-4400
41110821               + EDI: CALTAX.COM
                                                                                        Jun 28 2022 04:38:00      Franchise Tax Board, Bankruptcy Section, MS
                                                                                                                  A-340, PO Box 2952, Sacramento, CA
                                                                                                                  95812-2952
41110822               + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        Jun 28 2022 00:54:55      Merrick Bank, PO Box 30537, Tampa, FL
                                                                                                                  33630-3537
41110823               + EDI: RMSC.COM
                                                                                        Jun 28 2022 04:38:00      PayPal Credit, PO Box 105658, Atlanta, GA
                                                                                                                  30348-5658
41110824               + Email/Text: enotifications@santanderconsumerusa.com
                                                                                        Jun 28 2022 00:47:00      Santander Consumer USA, Attn: Bankruptcy, Po
                                                                                                                  Box 961245, Fort Worth, TX 76161-0244
41110825               + Email/Text: Atlanticus@ebn.phinsolutions.com
                                                                                        Jun 28 2022 00:47:00      Tbom/Atls/Aspire, Attn: Bankruptcy, Po Box
                                                                                                                  105555, Atlanta, GA 30348-5555

TOTAL: 13
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                               Imaged Certificate of Notice                                  Page 2 of 4
District/off: 0973-6                                               User: admin                                                            Page 2 of 2
Date Rcvd: Jun 27, 2022                                            Form ID: 318a                                                        Total Noticed: 17

                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
cr                              Ford Motor Credit Company LLC
smg               *             Franchise Tax Board, Bankruptcy Section MS: A-340, P.O. Box 2952, Sacramento, CA 95812-2952

TOTAL: 1 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 29, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 27, 2022 at the address(es) listed below:
Name                             Email Address
Benjamin Heston
                                 on behalf of Debtor Rebecca Gift bheston.ecf@gmail.com HestonBR41032@notify.bestcase.com,handhecf@gmail.com

Larry D Simons (TR)
                                 larry@lsimonslaw.com
                                 c119@ecfcbis.com;nancy@lsimonslaw.com;cynthia@lsimonslaw.com;simonsecf@gmail.com;kareng@lsimonslaw.com

Sheryl K Ith
                                 on behalf of Creditor Ford Motor Credit Company LLC sith@cookseylaw.com

United States Trustee (RS)
                                 ustpregion16.rs.ecf@usdoj.gov


TOTAL: 4
       Case 6:22-bk-10775-SY Doc 22 Filed 06/29/22                                                 Entered 06/29/22 21:27:57                Desc
                           Imaged Certificate of Notice                                            Page 3 of 4
Information to identify the case:
Debtor 1              Rebecca Gift                                                         Social Security number or ITIN   xxx−xx−1993
                      First Name   Middle Name   Last Name                                 EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                   Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                           EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Central District of California

Case number: 6:22−bk−10775−SY



Order of Discharge − Chapter 7                                                                                                      12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Rebecca Gift

            [include all names used by each debtor, including trade names, within
           the 8 years prior to the filing of the petition]

           Debtor 1 Discharge Date: 6/27/22



           Dated: 6/27/22
                                                                                    By the court: Scott H. Yun
                                                                                                  United States Bankruptcy Judge




Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                                      This order does not prevent debtors from paying
and it does not determine how much money, if                                        any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                                debts according to the reaffirmation agreement.
                                                                                    11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                           Most debts are discharged
attempt to collect a discharged debt from the                                       Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                          all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                                     personal liability for debts owed before the
or otherwise try to collect from the debtors                                        debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                                    Also, if this case began under a different chapter
in any attempt to collect the debt personally.                                      of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                                    to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                         are discharged.

However, a creditor with a lien may enforce a                                       In a case involving community property: Special
claim against the debtors' property subject to that                                 rules protect certain community property owned
lien unless the lien was avoided or eliminated.                                     by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                                       not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                                                                20/AUTU
                                                                                                   For more information, see page 2 >
Official Form 318−CACBdodb/CACodsc                            Order of Chapter 7 Discharge                              page 1
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Some debts are not discharged                                Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:               agreement are not discharged.

     ♦ debts that are domestic support                       In addition, this discharge does not stop
       obligations;                                          creditors from collecting from anyone else who is
                                                             also liable on the debt, such as an insurance
                                                             company or a person who cosigned or
     ♦ debts for most student loans;                         guaranteed a loan.


     ♦ debts for most taxes;
                                                              This information is only a general summary
     ♦ debts that the bankruptcy court has                    of the bankruptcy discharge; some
       decided or will decide are not discharged              exceptions exist. Because the law is
       in this bankruptcy case;                               complicated, you should consult an
                                                              attorney to determine the exact effect of the
                                                              discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318−CACBdodb/CACodsc            Order of Chapter 7 Discharge                    page 2
